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                                                                11
                           Los Angeles, California 90071-2627




                                                                                         UNITED STATES DISTRICT COURT
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12
                                                                                      NORTHERN DISTRICT OF CALIFORNIA
                                                                13
                                                                                       OAKLAND/SAN FRANCISCO DIVISION
                                                                14
                                                                     FACEBOOK, INC., a Delaware             CASE NO.: 3:20-cv-07345
                                                                15   corporation and INSTAGRAM, LLC, a
                                                                16   Delaware limited liability company,    COMPLAINT; DEMAND FOR JURY
                                                                                                            TRIAL
                                                                17                    Plaintiffs,
                                                                18         v.
                                                                19
                                                                     SEAN HEILWEIL, and JARRETT
                                                                20   LUSSO, d/b/a “BOOSTGRAM”
                                                                21
                                                                22                    Defendants.
                                                                23
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                                                                1          Plaintiffs Facebook, Inc. (“Facebook”) and Instagram, LLC (“Instagram”) allege
                                                                2    the following:
                                                                3                                        INTRODUCTION
                                                                4          1.        Since at least August 1, 2015, and continuing to the present, Defendants
                                                                5    Sean Heilweil and Jarret Lusso operated an unlawful business using the website
                                                                6    boostgram.com. Defendants’ business artificially inflated the “likes” and “followers”
                                                                7    of Instagram accounts (a practice known as “fake engagement”). Defendants used a
                                                                8    network of computers or “bots,” computer scripts, and their customers’ Instagram
                                                                9    accounts to deliver automated “likes” and “followers” to Instagram accounts, and
                                                                10   promoted their fake engagement service using a diluting domain name, in violation of
                                                                11   Instagram’s Terms of Use, Community Guidelines, and Platform Policy and state and
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                                                                12   federal laws.
                                                                13         2.        Defendants interfered with and continue to interfere with Instagram’s
                                                                14   service, created an inauthentic experience for Instagram users, and attempted to
                                                                15   fraudulently influence Instagram users for their own enrichment.         Facebook and
                                                                16   Instagram bring this action to stop Defendants’ ongoing and future misuse of Plaintiffs’
                                                                17   platform and infringing activity. Facebook and Instagram also bring this action to
                                                                18   obtain compensatory and punitive damages pursuant to the California Comprehensive
                                                                19   Computer Data Access and Fraud Act, Section 502 (the “CCCDAFA”); Computer
                                                                20   Fraud and Abuse Act, 18 U.S.C. § 1030 (the “CFAA”), the Lanham Act, 15 U.S.C. §
                                                                21   1125 (c) and (d), and for breach of contract. Facebook and Instagram also seek
                                                                22   disgorgement of Defendants’ illicit profits for unjust enrichment.
                                                                23                                           PARTIES
                                                                24         3.        Plaintiff Facebook is a Delaware corporation with its principal place of
                                                                25   business in Menlo Park, California.
                                                                26         4.        Plaintiff Instagram is a Delaware limited liability company with its
                                                                27   principal place of business in Menlo Park, California. Instagram is a subsidiary of
                                                                28   Facebook.

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                                                                1          5.     Defendant Sean Heilweil is an individual who is domiciled in the state of
                                                                2    New York.
                                                                3          6.     Defendant Jarrett Lusso is an individual who is domiciled in the state of
                                                                4    New York.
                                                                5          7.     Since at least August 1, 2015, Defendants Lusso and Heilweil have
                                                                6    controlled the boostgram.com fake engagement service. Exs. 1-2. On their website,
                                                                7    Defendants offered users a way to “increase [their] Instagram exposure” and “get real
                                                                8    organic engagement on [their] Instagram account in just three clicks.” Ex. 3.
                                                                9                               JURISDICTION AND VENUE
                                                                10         8.     This Court has subject matter jurisdiction over the federal causes of action
                                                                11   alleged in this Complaint pursuant to 28 U.S.C. § 1331.
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                                                                12         9.     This Court has supplemental jurisdiction over the state law causes of action
                                                                13   alleged in this Complaint pursuant to 28 U.S.C. § 1367 because these claims arise out
                                                                14   of the same nucleus of operative facts as Facebook and Instagram’s federal claim.
                                                                15         10.    In addition, this Court has jurisdiction over all the causes of action alleged
                                                                16   in this Complaint pursuant to 28 U.S.C. § 1332 because complete diversity between the
                                                                17   Plaintiffs and each of the named Defendants exists, and because the amount in
                                                                18   controversy exceeds $75,000.
                                                                19         11.    This Court has personal jurisdiction over Defendants because each
                                                                20   Defendant had an Instagram account and agreed to Instagram’s Terms of Use.
                                                                21   Additionally, Defendants, through their business, acquired access to their customers’
                                                                22   Instagram accounts, and used those accounts to provide fake engagement. Accordingly,
                                                                23   the Court has personal jurisdiction over Defendants because Instagram’s Terms of Use
                                                                24   contain a forum selection clause that requires this complaint be resolved exclusively in
                                                                25   this Court and that Defendants submit to the personal jurisdiction of this Court.
                                                                26         12.    This Court also has personal jurisdiction over Defendants because they
                                                                27   knowingly and intentionally directed their actions at California, and at Facebook and
                                                                28   Instagram, which have their principal place of business in California. Defendants’

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                                                                1    business model depended on accessing and using Instagram in order to artificially
                                                                2    manipulate Instagram accounts in exchange for money and used a mark that dilutes
                                                                3    Instagram marks.     Additionally, Defendants transacted business and engaged in
                                                                4    commerce in California by, among other things, knowingly using a server and computer
                                                                5    network located in the Northern District of California to operate their fake engagement
                                                                6    service.
                                                                7          13.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b),
                                                                8    as the threatened and actual harm to Facebook and Instagram occurred in this District.
                                                                9          14.    Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San
                                                                10   Francisco or Oakland division because Facebook and Instagram are located in San
                                                                11   Mateo County.
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                                                                12                               FACTUAL ALLEGATIONS
                                                                13         A.     Background on Instagram and Facebook
                                                                14         15.    Facebook is a social networking website and mobile application that
                                                                15   enables its users to create their own personal profiles and connect with each other on
                                                                16   their personal computers and mobile devices. As of August 2020, Facebook daily active
                                                                17   users averaged 1.79 billion and monthly active users averaged 2.7 billion. Facebook
                                                                18   has several products, including Instagram. Facebook owns and operates the Instagram
                                                                19   service, platform, and computers.
                                                                20         16.    Instagram is a photo and video sharing service, mobile application, and
                                                                21   social network. Instagram users can post photos and videos to their profile and share
                                                                22   them with their followers or a select group of friends. Instagram users can also view,
                                                                23   comment on, and “like” posts shared by others on Instagram.
                                                                24         17.    Instagram users can gain followers, views, and likes, but only from other
                                                                25   registered Instagram users. If a visitor to Instagram does not have an Instagram account
                                                                26   and tries to “like” a post, the visitor is redirected to the Instagram login page to enter
                                                                27   their Instagram credentials or to create an Instagram account.
                                                                28

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                                                                1          18.    When an Instagram user posts a photo to their account, other Instagram
                                                                2    users can view the photo, and choose to “like” it and add a comment to the post. For
                                                                3    private accounts, followers of the private account can see the post. For public accounts,
                                                                4    anyone with an Instagram account can see the post. When a photo is liked or a comment
                                                                5    about the post is added, that like and comment can be seen by anyone who can see the
                                                                6    post. An Instagram user can also choose to “follow” another Instagram user. Instagram
                                                                7    users can see the total number of users following an Instagram account. For marketing
                                                                8    and other commercial purposes, certain Instagram users strive to increase the number
                                                                9    of followers, views, comments, and likes they receive to increase their visibility and
                                                                10   popularity on Instagram.
                                                                11         B.     Instagram’s Terms of Use, Guidelines, and Platform Policy
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                                                                12         19.    Everyone who uses Instagram agrees to Instagram’s Terms of Use
                                                                13   (“Terms”) and other rules that govern access to and use of Instagram, including
                                                                14   Instagram’s Community Guidelines, Brand Guidelines, and Platform Policy
                                                                15   (collectively, “Terms and Policies”).1 Since April 2018, the Instagram Terms state that
                                                                16   because Instagram is a Facebook product, the Instagram Terms constitute an agreement
                                                                17   between the Instagram users and Facebook.
                                                                18         20.    Since at least April 2018, Instagram’s Terms have prohibited users from
                                                                19   (a) “do[ing] anything unlawful, misleading, or fraudulent or for an illegal or
                                                                20   unauthorized purpose”; (b) “interfer[ing] with or impair[ing] the intended operation of
                                                                21   [Instagram]”; (c) “attempt[ing] to buy, [or] sell . . . any aspect of [an Instagram]
                                                                22   account”; (d) “access . . . information in unauthorized ways” including “in an automated
                                                                23   way without our express permission”; (e) “violate (or help or encourage others to
                                                                24   violate) [Instagram] Terms or [Instagram] policies . . . including . . . the Instagram
                                                                25   Community Guidelines[, and] Instagram Platform Policy.”
                                                                26
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                                                                      Instagram’s Terms and Policies can be accessed at
                                                                     https://help.instagram.com/581066165581870.
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                                                                1             21.      In addition, Instagram’s Terms require users to “use [Instagram’s]
                                                                2    intellectual property and trademarks or similar marks,” only “as expressly permitted by
                                                                3    [Instagram’s] Brand Guidelines[2] or with [] prior written permission.” The Brand
                                                                4    Guidelines prohibit using the marks in a way that “[m]akes the Instagram brand the
                                                                5    most distinctive or prominent feature,” “[i]mplies partnership, sponsorship or
                                                                6    endorsement,” or “combine[s] ‘Insta’ or ‘gram’ with [the user’s] own brand.”
                                                                7             22.      Instagram’s Community Guidelines prohibit users from artificially
                                                                8    collecting likes and followers.
                                                                9             C.       Defendants Diluted Instagram’s Registered Trademarks
                                                                10            23.      Instagram owns the exclusive rights to the highly distinctive
                                                                11   INSTAGRAM word mark, having used the mark in connection with its goods and
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                                                                12   services as early as 2010.
                                                                13            24.      In addition to its extensive common law rights, Instagram owns numerous
                                                                14   United States registrations for the INSTAGRAM word mark, including, but not limited
                                                                15   to:
                                                                16                  a) United States Registration Number 4,822,600;
                                                                17                  b) United States Registration Number 4,146,057;
                                                                18                  c) United States Registration Number 4,756,754;
                                                                19                  d) United States Registration Number 4,863,595;
                                                                20                  e) United States Registration Number 4,863,594;
                                                                21                  f) United States Registration Number 5,566,030;
                                                                22                  g) United States Registration Number 4,170,675; and
                                                                23                  h) United States Registration Number 4,827,509.
                                                                24            25.      Copies of these registration certificates are attached to this complaint as
                                                                25   Exhibit 4. Instagram’s common law and registered trademark rights are collectively
                                                                26   referred to as the “Instagram Trademarks.”
                                                                27
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                                                                     2
                                                                         Instagram Brand Guidelines can be found at https://en.instagram-brand.com/.
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                                                                1          26.   In or around April 2017, Plaintiffs learned that on March 2, 2014,
                                                                2    Defendants registered and began using the domain name boostgram.com (“Domain
                                                                3    Name”), which dilutes the Instagram Trademarks. Exs. 2 and 5.
                                                                4          27.   Instagram’s use of the Instagram Trademarks in interstate commerce has
                                                                5    been extensive, continuous, and substantially exclusive. Instagram has made, and
                                                                6    continues to make, a substantial investment of time and effort in the promotion of
                                                                7    Instagram and the Instagram Trademarks. Through Instagram’s widespread use of the
                                                                8    Instagram Trademarks, extensive and continuous media coverage, the high degree of
                                                                9    consumer recognition of the Instagram Trademarks, Instagram’s enormous and loyal
                                                                10   user base, its multiple trademark registrations and pending applications, and other
                                                                11   factors, the Instagram Trademarks are highly distinctive and enjoy widespread
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                                                                12   recognition among consumers pre-dating Defendants’ use of the dilutive
                                                                13   “Boostgram.”
                                                                14         28.   As a result of Instagram’s efforts and use, the Instagram Trademarks are
                                                                15   famous within the meaning of Section 43 (a) of the Lanham Act, 15 U.S.C. § 1125(c),
                                                                16   as they are recognized within the United States and around the world as signifying high
                                                                17   quality, authentic goods and services provided by Instagram.
                                                                18         29.   Since at least August 1, 2015, Defendants have diluted the Instagram
                                                                19   Trademarks by referring to their service as “BOOSTGRAM” and listing a “Boostgram”
                                                                20   copyright on their website. Exs. 1 and 3.
                                                                21         D.    Facebook and Instagram’s Enforcement Actions against Defendants
                                                                22         30.   Since 2017, to protect Instagram users and the Instagram service,
                                                                23   Facebook and Instagram have taken multiple enforcement actions against Defendants
                                                                24   for violating Instagram’s Terms and Policies, including sending multiple cease and
                                                                25   desist letters to Defendants and disabling Facebook and Instagram accounts associated
                                                                26   with Defendants and their fake engagement operation.
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                                                                1                 1.     May 11, 2017 Cease and Desist
                                                                2          31.    On May 11, 2017, Facebook and Instagram sent a cease and desist letter to
                                                                3    Defendants Heilweil and Lusso for marketing and providing fake engagement services
                                                                4    through the boostgram.com website. Ex. 6. At that time, Facebook and Instagram also
                                                                5    disabled Instagram and Facebook accounts associated with Defendants.
                                                                6          32.    In the May 2017 cease and desist letter, Plaintiffs demanded that
                                                                7    Defendants stop violating Instagram’s Terms and Policies, including:
                                                                8               Misleading Instagram users;
                                                                9               Selling APIs (application programming interfaces) or tools to others;
                                                                10              Automating interactions between profiles that have no prior relationship;
                                                                11              Facilitating or encouraging others to violate Instagram’s [Terms].
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                                                                12         33.    The May 2017 cease and desist letter informed Defendants that Facebook
                                                                13   revoked their access to use and access Facebook and Instagram services. Id. The May
                                                                14   2017 cease and desist letter also notified Defendants that their service interfered with
                                                                15   Facebook and Instagram; and that Defendants’ actions may have violated state and
                                                                16   federal laws, including the CFAA and the CCCDAFA. Id.
                                                                17         34.    On May 13, 2017, in response to the May 2017 cease and desist letter, an
                                                                18   attorney representing Defendants Heilweil and Lusso contacted counsel for Facebook
                                                                19   and Instagram. In the response, Defendants’ counsel acknowledged that Defendants
                                                                20   controlled boostgram.com, stating that Defendants “intended to defend the use and
                                                                21   operation” of boostgram.com, and claimed the service did not violate Instagram’s
                                                                22   Terms and Policies.      Defendants’ counsel also requested the reinstatement of
                                                                23   Defendants’ accounts and access to Facebook and Instagram, which Plaintiffs declined.
                                                                24         35.    After Defendants received the cease and desist letter, Defendants
                                                                25   continued to provide the same fake engagement service to artificially inflate likes and
                                                                26   followers and only removed the references to the term “automation” on their website
                                                                27   promoting the service. Exs. 3 and 7.
                                                                28

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                                                                1                2.       August 27, 2019 Cease and Desist
                                                                2          36.   Despite having their access revoked, between May 16, 2017 and January
                                                                3    2, 2019, Defendants created at least seven new Instagram accounts in order to access
                                                                4    and use Instagram.
                                                                5          37.   On August 27, 2019, Plaintiffs sent another cease and desist letter to
                                                                6    Defendants and referenced the May 2017 cease and desist letter. Ex. 8.
                                                                7          38.   In the August 2019 letter, Facebook and Instagram again demanded that
                                                                8    Defendants stop abusing Instagram and stop violating Instagram’s Terms and Policies.
                                                                9    Plaintiffs reiterated to Defendants that their conduct may have violated the CCCDAFA
                                                                10   and the CFAA. Id. Facebook and Instagram again notified Defendants that their access
                                                                11   to Facebook and Instagram had been revoked and disabled Defendants’ newly created
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                                                                12   accounts. Id.
                                                                13         39.   On August 29, 2019, in response to the August 2019 cease and desist letter,
                                                                14   Defendants’ attorney informed counsel for Facebook and Instagram that Defendants did
                                                                15   not intend to stop providing fake engagement services or cease the operation of the
                                                                16   website boostgram.com.
                                                                17         40.   On May 26, 2020, Plaintiffs sent a final letter to Defendants’ counsel. In
                                                                18   the May 2020 letter, Plaintiffs reiterated that Defendants’ operation violated
                                                                19   Instagram’s Terms and Policies and noted that Defendants’ access to Facebook and
                                                                20   Instagram had been revoked since May 11, 2017. Defendants failed to respond to the
                                                                21   May 2020 letter.
                                                                22         41.   Despite Plaintiffs’ enforcement efforts, Defendants resumed and continued
                                                                23   to access and use the Instagram service.
                                                                24   ///
                                                                25   ///
                                                                26   ///
                                                                27   ///
                                                                28   ///

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                                                                1          E.      Defendants Used an Automated Process and Bots to Artificially
                                                                2                  Increase the Likes and Followers of Instagram Users and Interfered
                                                                3                  with Instagram’s Service and Computer Network
                                                                4          42.     Since at least August 1, 2015 and continuing to the present, Defendants
                                                                5    used the website boostgram.com to market and provide fake engagement services for
                                                                6    Instagram and conducted financial transactions with their customers. Exs. 1 and 3.
                                                                7          43.     Beginning no later than July 14, 2020, Defendants used Amazon servers
                                                                8    located in San Jose, California to host and operate their fake engagement business.
                                                                9          44.     Between March 2014 and August 2019, Defendants promoted the
                                                                10   boostgram.com website on YouTube, Facebook, and Instagram.              For example,
                                                                11   Defendants were the only administrators of a Facebook page named “Boostgram,”
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                                                                12   which Defendants used to promote boostgram.com.
                                                                13         45.     On or about March 2, 2014, Defendant Lusso created and operated an
                                                                14   Instagram account with the vanity name “getboostgram.” In the bio of that Instagram
                                                                15   account, Lusso wrote, “Generate Real Followers, Likes, and Comments on your
                                                                16   Instagram!”
                                                                17         46.     Between August 1, 2015 and May 2017, Defendants offered their
                                                                18   customers the ability to “Automate [Their] Instagram Activity” and “Get real followers,
                                                                19   likes, and comments on [their] Instagram in three clicks.” Ex. 1. Defendants stated
                                                                20   their service “automatically interacts with new fans on [their customers’] behalf.” Id.
                                                                21   Due to Plaintiffs’ enforcement actions, Defendants removed all references to
                                                                22   “automation” from their website but continue to offer fake engagement services. Exs.
                                                                23   3 and 7.
                                                                24         47.     Since June 2017 to present, Defendants have referred to their fake
                                                                25   engagement service as “audience targeting” on their website, but nonetheless provided
                                                                26   the same service to artificially inflate likes and followers. Id.
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                                                                1           48.   Defendants charged a fixed weekly price for their fake engagement
                                                                2    services. As shown below in Figure 1, after a free three-day trial, Defendants charged
                                                                3    a weekly price of $31 per user account for their fake engagement service.
                                                                4                                Figure 1: Boostgram Pricing
                                                                5
                                                                6
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                                                                12
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                                                                14
                                                                15          49.   Once a customer registered their Instagram account with Boostgram,
                                                                16   Defendants used bots and computer scripts to (a) login to the customer’s Instagram
                                                                17   account in an automated manner, and (b) use the Instagram account to automate the
                                                                18   delivery of thousands of artificial likes and to follow other Instagram users. This
                                                                19   conduct was not authorized by Facebook or Instagram.
                                                                20          50.   As shown below in Figure 2, as of August 7, 2020, Defendants offer their
                                                                21   customers the ability to customize the fake engagement from their Instagram account.
                                                                22   And an earlier version of boostgram.com allowed customers to control the rate at which
                                                                23   the fake engagement was delivered.
                                                                24   ///
                                                                25   ///
                                                                26   ///
                                                                27   ///
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                                                                1                               Figure 2: Boostgram Dashboard
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                                                                9           51.    For example, between July 16, 2019 and July 19, 2019, after registering an
                                                                10   Instagram account on boostgram.com and paying Defendants $31.00, Defendants’ bots
                                                                11   and computer scripts used the Instagram account to automate the delivery of over 5,000
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                                                                12   likes to other Instagram accounts.
                                                                13          52.    Similarly, between July 23, 2020 and July 30, 2020, after registering an
                                                                14   Instagram account on boostgram.com and paying Defendants $31.00, Defendants’
                                                                15   automated system used the Instagram account to deliver over 6,500 likes to other
                                                                16   Instagram accounts.
                                                                17          F.     Defendants Unjustly Enriched Themselves and Their Unlawful Acts
                                                                18                 Have Caused Damage and a Loss to Facebook and Instagram
                                                                19          53.    Defendants’ continued breaches of Instagram’s Terms and Policies have
                                                                20   caused Facebook and Instagram substantial harm. Defendants interfered and continue
                                                                21   to interfere with Instagram’s service. Defendants created and continue to create an
                                                                22   inauthentic experience for Instagram users who used, viewed, and relied on Defendants’
                                                                23   fake engagement.
                                                                24          54.    Facebook and Instagram have suffered damages attributable to the efforts
                                                                25   and resources it has used to address this complaint, investigate, and mitigate
                                                                26   Defendants’ illegal conduct, and to identify, analyze, and stop their fraudulent and
                                                                27   injurious activities.
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                                                                1          55.    Since at least August 2015, Defendants have unjustly enriched themselves
                                                                2    at the expense of Facebook and Instagram in an amount to be determined at trial.
                                                                3    Facebook and Instagram are entitled to an accounting by Defendants and a
                                                                4    disgorgement of all unlawful profits gained from their unlawful conduct.
                                                                5                                FIRST CAUSE OF ACTION
                                                                6                                     (Breach of Contract)
                                                                7          56.    Facebook and Instagram incorporate all preceding paragraphs here.
                                                                8          57.    Each Defendant created an Instagram account and agreed to Instagram’s
                                                                9    Terms and Policies.
                                                                10         58.    Defendants used their customers’ Instagram accounts to provide fake
                                                                11   engagement to other Instagram users. Defendants’ use of those Instagram accounts was
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                                                                12   also governed by Instagram’s Terms and Policies. Because Defendants’ unlawful
                                                                13   business used and targeted Instagram users, each Defendant agreed to Instagram’s
                                                                14   Terms and Policies.
                                                                15         59.    Despite each Defendant’s agreement to Instagram’s Terms and Policies,
                                                                16   they repeatedly breached them. Defendants breached Instagram’s Terms and Policies
                                                                17   by taking the actions described above, all in an attempt to fraudulently influence other
                                                                18   Instagram users and enrich themselves while damaging Facebook and Instagram. Not
                                                                19   only did Defendants’ fake engagement service violate Instagram’s Terms and Policies,
                                                                20   they encouraged and helped others to violate Instagram’s Terms and Policies, which
                                                                21   itself was a violation. Similarly, Defendants violated Instagram’s Terms and Policies
                                                                22   because they accessed Instagram and information on Instagram in an unauthorized
                                                                23   automated way without Instagram or Facebook’s express permission.
                                                                24         60.    Defendants also breached Instagram’s Brand Guidelines by improperly
                                                                25   using the term “gram” in the boostgram.com domain name.
                                                                26         61.    Facebook and Instagram have performed all conditions, covenants, and
                                                                27   promises required of them in accordance with their agreements with Defendants.
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                                                                1          62.    Defendants’ many breaches have caused Facebook and Instagram to incur
                                                                2    damages in an amount to be determined at trial, but in an amount exceeding $75,000.
                                                                3                                  SECOND CAUSE OF ACTION
                                                                4                                   (California Penal Code § 502)
                                                                5          63.    Facebook and Instagram incorporate all preceding paragraphs here.
                                                                6          64.    Since at least May 2017, Defendants have violated California Penal Code
                                                                7    § 502 by accessing Facebook and Instagram and operating their fake engagement
                                                                8    service after Facebook and Instagram sent Defendants cease and desist letters, revoked
                                                                9    Defendants’ access to Facebook and Instagram, and disabled their user accounts.
                                                                10         65.    Defendants knowingly accessed and without permission used Facebook
                                                                11   and Instagram’s data, computers, computer system, and computer network in order to
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                                                                12   (A) devise or execute a scheme or artifice to defraud and deceive, and (B) to wrongfully
                                                                13   control or obtain money, property, or data, in violation of California Penal Code §
                                                                14   502(c)(1). Defendants’ business model is based on deceiving Instagram users and
                                                                15   unjustly profiting from it.
                                                                16         66.    Defendants knowingly and without permission used or caused to be used
                                                                17   Facebook and Instagram’s computer services in violation of California Penal Code
                                                                18   § 502(c)(3) by accessing and using Instagram after Facebook and Instagram sent them
                                                                19   multiple cease and desist letters revoking their access to Instagram and disabled their
                                                                20   user accounts.
                                                                21         67.    By artificially inflating certain Instagram users’ likes and followers, and
                                                                22   impairing the intended operation of Instagram, Defendants knowingly and without
                                                                23   permission disrupted or caused the disruption of Facebook and Instagram’s computer
                                                                24   services, computers, computer systems, and/or computer networks in violation of
                                                                25   California Penal Code § 502(c)(5).
                                                                26         68.    Defendants knowingly and without permission accessed and caused to be
                                                                27   accessed Facebook and Instagram’s computers, computer systems, and/or computer
                                                                28   networks in violation of California Penal Code § 502(c)(7). Defendants accessed

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                                                                1    Facebook and Instagram’s computer network after Facebook and Instagram disabled
                                                                2    their Instagram accounts, and sent multiple cease and desist letters to Defendants
                                                                3    revoking their access to the Instagram platform.
                                                                4          69.    Because Facebook and Instagram suffered damages and a loss as a result
                                                                5    of Defendants’ actions and continue to suffer damages as result of Defendants’ actions,
                                                                6    Facebook and Instagram are entitled to compensatory damages, in an amount of at least
                                                                7    $75,000, attorney fees, and any other amount of damages proven at trial, and injunctive
                                                                8    relief under California Penal Code § 502(e)(1) and (2).
                                                                9          70.    Because Defendants willfully violated California Penal Code § 502, and
                                                                10   there is clear and convincing evidence that Defendants committed “fraud” as defined
                                                                11   by Section 3294 of the Civil Code, Facebook is entitled to punitive and exemplary
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                                                                12   damages under California Penal Code § 502(e)(4).
                                                                13                              THIRD CAUSE OF ACTION
                                                                14                    (Computer Fraud and Abuse Act, 18 U.S.C. § 1030)
                                                                15         71.    Facebook and Instagram incorporate all preceding paragraphs here.
                                                                16         72.    Since at least May 2017, Defendants have violated 18 U.S.C. § 1030 by
                                                                17   accessing Facebook and Instagram without authorization in order to operate their fake
                                                                18   engagement service. Specifically, Defendants accessed Facebook and Instagram after
                                                                19   Plaintiffs sent Defendants multiple cease and desist letters, revoked Defendants’ access
                                                                20   to Facebook and Instagram, and disabled their accounts.
                                                                21         73.    Facebook and Instagram computers and servers are protected computers as
                                                                22   defined by 18 U.S.C. § 1030(e)(2).
                                                                23         74.    Defendants’ access and use of Facebook and Instagram’s computers and
                                                                24   computer systems was unauthorized since at least May 2017 because Defendants
                                                                25   accessed and used Facebook and Instagram’s computer network after Facebook and
                                                                26   Instagram disabled their Instagram accounts and sent multiple cease and desist letters
                                                                27   to Defendants revoking their access to and use of the Instagram platform.
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                                                                1          75.    Defendants violated 18 U.S.C. § 1030(a)(4) because they knowingly and
                                                                2    with intent to defraud accessed Facebook and Instagram protected computers by
                                                                3    sending unauthorized commands and signals to Facebook and Instagram computers and
                                                                4    by means of such conduct furthered the intended fraud and obtained something of value.
                                                                5    Defendants sent the commands to Facebook and Instagram computers to manipulate
                                                                6    Instagram’s service by automating the delivery of likes and followers and fraudulently
                                                                7    inflating likes and followers of certain Instagram posts and accounts. Defendants did
                                                                8    these acts in exchange for profit.
                                                                9          76.    Defendants violated 18 U.S.C. § 1030(b) by conspiring or attempting to
                                                                10   commit the violation alleged in the preceding paragraph.
                                                                11         77.    Defendants’ conduct has caused a loss to Facebook and Instagram during
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                                                                12   a one-year period in excess of $5,000.
                                                                13         78.    Defendants’ actions caused Facebook and Instagram to incur losses and
                                                                14   other economic damages, including, among other things, the expenditure of resources
                                                                15   to investigate, mitigate, and respond to Defendants’ conduct. Facebook and Instagram
                                                                16   are entitled to be compensated for losses and damages in an amount proven at trial.
                                                                17         79.    Facebook and Instagram have no adequate remedy at law that would
                                                                18   prevent Defendants from continuing their fraudulent scheme. Permanent injunctive
                                                                19   relief is therefore warranted.
                                                                20                              FOURTH CAUSE OF ACTION
                                                                21         (Cybersquatting on the Instagram Trademarks Under 15 U.S.C. § 1125(d))
                                                                22         80.    Facebook and Instagram incorporate all preceding paragraphs here.
                                                                23         81.    The Instagram Trademarks were highly distinctive and federally registered
                                                                24   at the United States Patent and Trademark Office at the time Defendants registered the
                                                                25   Domain Name.
                                                                26         82.    The Instagram Trademarks are and were famous within the meaning of
                                                                27   15 U.S.C. § 1125(c) at the time of the registration of the Domain Name.
                                                                28         83.    The Domain Name is dilutive of the Instagram Trademarks.

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                                                                1          84.     Defendants registered, trafficked in, and used the Domain Name with a
                                                                2    bad-faith intent to profit from the Instagram Trademarks.
                                                                3          85.     The Domain Name does not consist of the legal name of either Defendant,
                                                                4    nor does it consist of a name that is otherwise commonly used to identify either
                                                                5    Defendant.
                                                                6          86.     Defendants have not made any prior use of the Domain Name in
                                                                7    connection with the bona fide offering of any goods or services.
                                                                8          87.     Defendants have not made any bona fide noncommercial or fair use of the
                                                                9    Instagram Trademarks on a website accessible at the Domain Name.
                                                                10         88.     Defendants registered and used the Domain Name to capitalize on the
                                                                11   Instagram Trademarks and to offer illicit services specifically aimed at Instagram.com
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                                                                12   for Defendants’ commercial gain. Such registration and use dilutes the distinctive
                                                                13   quality of the Instagram Trademarks by tarnishing or lessening the distinctiveness of
                                                                14   the Instagram Trademarks.
                                                                15         89.     Defendants’ registration, trafficking, and use of the Domain Name
                                                                16   constitutes cybersquatting in violation of 15 U.S.C. § 1125(d), entitling Facebook and
                                                                17   Instagram to preliminary and permanent injunctive relief pursuant to 15 U.S.C. § 1116.
                                                                18         90.     Facebook and Instagram are entitled to recover their costs as well as
                                                                19   Defendants’ profits, Plaintiffs’ actual damages, or statutory damages under 15 U.S.C.
                                                                20   § 1117(d), on election by Facebook and Instagram, in an amount of $100,000 per
                                                                21   domain name.
                                                                22         91.     This is an exceptional case making Plaintiffs eligible for an award of
                                                                23   attorneys’ fees under 15 U.S.C. § 1117.
                                                                24                                FIFTH CAUSE OF ACTION
                                                                25               (Dilution of the Instagram Trademarks Under 15 U.S.C. § 1125(c))
                                                                26         92.     Facebook and Instagram incorporate all preceding paragraphs here.
                                                                27         93.     The Instagram Trademarks are famous, as that term is used in 15 U.S.C. §
                                                                28   1125(c), and they were famous before Defendants’ use of Boostgram and variations of

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                                                                1    the Instagram Trademarks in commerce. This fame is based on, among other things,
                                                                2    the inherent distinctiveness and federal registration of each of the Instagram
                                                                3    Trademarks, as well as the extensive and exclusive worldwide use, advertising,
                                                                4    promotion, and recognition of them.
                                                                5          94.    Defendants’ use of Boostgram and variations thereof, in commerce is
                                                                6    likely to cause dilution by blurring, or dilution by tarnishment, of these trademarks.
                                                                7          95.    Defendants’ acts constitute dilution by blurring and dilution by
                                                                8    tarnishment in violation of 15 U.S.C. § 1125(c), entitling Plaintiffs to relief.
                                                                9          96.    Defendants have unfairly profited from their conduct.
                                                                10         97.    Defendants damaged the goodwill associated with the Instagram
                                                                11   Trademarks and will continue to cause irreparable harm.
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                                                                12         98.    Plaintiffs’ remedy at law is not adequate to compensate them for the
                                                                13   injuries inflicted by Defendants. Accordingly, Plaintiffs are entitled to permanent
                                                                14   injunctive relief pursuant to 15 U.S.C. § 1116.
                                                                15         99.    Because Defendants acted willfully, Plaintiffs are entitled to damages, and
                                                                16   those damages should be trebled pursuant to 15 U.S.C. § 1117(a).
                                                                17         100. This is an exceptional case, making Plaintiffs eligible for an award of
                                                                18   reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a).
                                                                19                                SIXTH CAUSE OF ACTION
                                                                20                                     (Unjust Enrichment)
                                                                21         101. Facebook and Instagram incorporate all preceding paragraphs here.
                                                                22         102. Defendants’ acts as alleged herein constitute unjust enrichment by the
                                                                23   Defendants at Facebook and Instagram’s expense.
                                                                24         103. Defendants accessed and used, without authorization or permission,
                                                                25   Facebook and Instagram’s service, platform, and computer network, all of which belong
                                                                26   to Facebook and Instagram.
                                                                27         104. Defendants used Facebook and Instagram’s service, platform, and
                                                                28   computer network to, among other things, defraud and deceive Instagram users,

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                                                                1    artificially inflate likes and followers for certain Instagram posts and accounts, impair
                                                                2    the intended operation of Instagram, interfere with Instagram’s service, platform, and
                                                                3    computer network, and wrongfully obtain money from the operation of their unlawful
                                                                4    business.
                                                                5          105. Defendants received a benefit by profiting off of their unauthorized use of
                                                                6    Facebook and Instagram’s service, platform, and computer network.                But for
                                                                7    Defendants’ illegal use of Instagram, they would not have received the profits they
                                                                8    achieved.
                                                                9          106. Defendants’ retention of the profits derived from their unlawful and
                                                                10   unauthorized use of Facebook and Instagram’s service, platform, and computer network
                                                                11   would be unjust.
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                                                                12         107. Facebook and Instagram seek an accounting and disgorgement of
                                                                13   Defendants’ ill-gotten profits in an amount to be determined at trial.
                                                                14                                 REQUEST FOR RELIEF
                                                                15         WHEREFORE, Facebook and Instagram are entitled to judgment against
                                                                16   Defendants on each of Plaintiffs’ causes of action awarding Facebook and Instagram:
                                                                17         1.     Compensatory damages in an amount to be determined at trial;
                                                                18         2.     Punitive damages in an amount to be determined at trial;
                                                                19         3.     An accounting of each Defendants profits resulting from their fake
                                                                20   engagement service;
                                                                21         4.     Disgorgement of Defendants’ profits resulting from their fake engagement
                                                                22   service;
                                                                23         5.     A permanent injunction enjoining and restraining Defendants and their
                                                                24   agents, servants, employees, successors, and assigns, and all other persons acting in
                                                                25   concert or participation with any of them from:
                                                                26               a. accessing or attempting to access Facebook and Instagram’s service,
                                                                27                  platform, and computer systems;
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                                                                1                b. registering, using, or trafficking in any domain name that is identical or
                                                                2                   confusingly similar to any of the Instagram Trademarks;
                                                                3                c. engaging in any activity which tarnishes or lessens the distinctiveness of
                                                                4                   the Instagram Trademarks;
                                                                5                d. creating or maintaining any Instagram accounts in violation of
                                                                6                   Instagram’s Terms and Policies;
                                                                7                e. engaging in any activity that disrupts, diminishes the quality of,
                                                                8                   interferes with the performance of, or impairs the functionality of
                                                                9                   Facebook and Instagram’s service, platform, and computer systems; and
                                                                10               f. engaging in any activity, or facilitating others to do the same, that
                                                                11                  violates Instagram’s Terms and Policies.
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                                                                12          6.   That Facebook and Instagram be awarded damages for Defendants’
                                                                13   trademark dilution and that these damages be trebled due to Defendants’ willfulness, in
                                                                14   accordance with the provisions of 15 U.S.C. § 1117.
                                                                15          7.   That Plaintiffs be awarded $100,000 in statutory damages per infringing
                                                                16   domain name by reason of Defendants’ cybersquatting in accordance with the
                                                                17   provisions of 15 U.S.C. § 1117.
                                                                18          8.   That Facebook and Instagram be awarded their reasonable costs, including
                                                                19   reasonable attorneys’ fees, pursuant to 15 U.S.C. § 1117 and any other applicable
                                                                20   provision of law.
                                                                21          9.   That Facebook and Instagram be awarded pre- and post-judgment interest
                                                                22   as allowed by law.
                                                                23   ///
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                                                                1         10.   All such other and further relief as this Court may deem just and proper.
                                                                2
                                                                3    Dated: October 20, 2020                   HUNTON ANDREWS KURTH LLP
                                                                4
                                                                5                                                 By:        /s/ Ann Marie Mortimer
                                                                6                                                          Ann Marie Mortimer
                                                                                                                           Jason J. Kim
                                                                7                                                          Jeff R. R. Nelson
                                                                8                                                       Attorneys for Plaintiffs
                                                                                                                        FACEBOOK, INC. and
                                                                9                                                       INSTAGRAM, LLC
                                                                10
                                                                                                                           Platform Enforcement and
                                                                11                                                         Litigation
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
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                                                                12                                                         Facebook, Inc.
                                                                                                                           Jessica Romero
                                                                13                                                         Michael Chmelar
                                                                14                                                         V. RaShawn Woodley

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                                                                1                                       DEMAND FOR JURY TRIAL
                                                                2            Plaintiffs hereby demand a trial by jury on all issues triable to a jury.
                                                                3
                                                                4    Dated: October 20, 2020                       HUNTON ANDREWS KURTH LLP
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                                                                                                                        By:        /s/ Ann Marie Mortimer
                                                                7                                                                Ann Marie Mortimer
                                                                8                                                                Jason J. Kim
                                                                                                                                 Jeff R. R. Nelson
                                                                9                                                             Attorneys for Plaintiffs
                                                                10                                                            FACEBOOK, INC. and
                                                                                                                              INSTAGRAM, LLC
                                                                11
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




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                                                            How It Works




       Connect to lnstagram                                Enter your Preferences                                                   Save & Start
    To get started, connect your lnstagram                 Now that you' re In the Boostgram                          Once you have perfected your settings
     account to Boostgram. Once you' re                   dashboard, you'll want to setup your                        press the Save & Start button. Now, sit
   connected, you will be allowed to access            account to target the type of audience you                  back, and enjoy your new organic fans and
                     our dashboard.                              want to engage with.                                            engagement.




                                                            Our Features


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          Automated Activity                                      Schedule Posts                                                        Full Control
  Boostgram automatically inte racts with                Create a unique lnstagra m campa ign or                      we provide a full range of actions and
   new fans on your behalf. This leads to               plan posts in advance, Boostgram lets you                    settings to help you increase and target
 thousands of new people following, liking,             schedule any content to be posted now or                      highly specific fans on your lnstagra m
     and interacting with your profile.                                in the future.                                                 account.




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            Gender Targeting                                    Location Targeting                                                 No Download
   Our customized gender targeting allows              Targeting by loca tion a llows you to focus                 Our enterprise level software runs entirely
  you to automatica lly Interact with e ithe r         your efforts to specific geographic a reas.                  on our own web servers, so there is no
      fema le, male or both audiences.                 This is very effective for local and regiona l                         need to download or insta ll any
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  Manage Multiple Accounts                                         Mobile Ready                                                    24/7 Support
Add multiple lnstagra m accounts into your                Our web based software is also 100%                        We're here to help! Our friendly support
dashboard for easy and simple control over             mobile friendly. Edit your settings on the go                  staff is available 24/7 to answer any
      multiple lnstagra m accounts.                       or login to check on your statistics.                      questions through both chat and email.




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                                      How It Works   Fearures    Get Free Account   Sign In    Terms of Service         Privacy Policy




                                         URL: https://web.archive.org/web/20150801042824/http://boostgram.com/
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                       EXHIBIT 2



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     Inspect: boostgram.com

      Domain Profile              Screenshot History              Whois History             Hosting History             SSL Profile


                                                              2015-01-07 - (6 years ago)
                                                                    1 identical record

    Domain                    boostgram.com

    Record Date               2015-01-07

    Registrar                 ENOM, INC.

    Server                    whois.enom.com

    Created                   2014-03-02 (6 years ago)

    Updated                   2014-03-02 (6 years ago)

    Expires                   2015-03-02 (5 years ago)

                              •   abuse@enom.com
    Unique Emails
                              •   sean@cacheventures.com




https://research.domaintools.com/iris/investigations/550252/search/1633e8ac-cf8c-42bb-a4b7-7bc46cb56aa4/dc54a9d9-ab77-4d70-83cc-b16f917baae5   1/2
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     Domain Name: BOOSTGRAM.COM
     Registry Domain ID: 1848853418_DOMAIN_COM-VRSN
     Registrar WHOIS Server: whois.enom.com
     Registrar URL: www.enom.com
     Updated Date: 2014-03-02T14:53:19.00Z
     Creation Date: 2014-03-02T22:53:00.00Z
     Registrar Registration Expiration Date: 2015-03-02T22:53:00.00Z
     Registrar: ENOM, INC.
     Registrar IANA ID: 48
     Registrar Abuse Contact Email: abuse@enom.com
     Registrar Abuse Contact Phone: +1.4252982646
     Reseller: NAMECHEAP.COM
     Domain Status: clientTransferProhibited
     Registry Registrant ID:
     Registrant Name: SEAN HEILWEIL
     Registrant Organization: CACHE VENTURES, LLC
     Registrant Street: PO BOX
     Registrant City: MONROE
     Registrant State/Province: NY
     Registrant Postal Code: 10949
     Registrant Country: US
     Registrant Phone: +1.6463960803
     Registrant Phone Ext:
     Registrant Fax:
     Registrant Fax Ext:
     Registrant Email: SEAN@CACHEVENTURES.COM
     Registry Admin ID:
     Admin Name: SEAN HEILWEIL
     Admin Organization: CACHE VENTURES, LLC
     Admin Street: PO BOX
     Admin City: MONROE
     Admin State/Province: NY
     Admin Postal Code: 10949
     Admin Country: US
     Admin Phone: +1.6463960803
     Admin Phone Ext:
     Admin Fax:
     Admin Fax Ext:
     Admin Email: SEAN@CACHEVENTURES.COM
     Registry Tech ID:
     Tech Name: SEAN HEILWEIL
     Tech Organization: CACHE VENTURES, LLC
     Tech Street: PO BOX
     Tech City: MONROE
     Tech State/Province: NY
     Tech Postal Code: 10949
     Tech Country: US
     Tech Phone: +1.6463960803
     Tech Phone Ext:
     Tech Fax:
     Tech Fax Ext:
     Tech Email: SEAN@CACHEVENTURES.COM
     Name Server: NS-1013.AWSDNS-62.NET
     Name Server: NS-1088.AWSDNS-08.ORG
     Name Server: NS-1737.AWSDNS-25.CO.UK
     Name Server: NS-311.AWSDNS-38.COM
     DNSSEC: unSigned
     URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/



                                                                Historical Records
                                                                     188 records found


https://research.domaintools.com/iris/investigations/550252/search/1633e8ac-cf8c-42bb-a4b7-7bc46cb56aa4/dc54a9d9-ab77-4d70-83cc-b16f917baae5   2/2
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                       EXHIBIT 3



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                                                     2020-03-11 - Screenshot
                                              Case 3:20-cv-07345-SK Document 1from
                                                                                Filedboostgram.com
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                                                         How It Works




    Connect to lnstagram                                Enter your Preferences                                              Save & Start
  To get started, connect your Jnstagra m               Now that you're In the Boostgram                         Once you have perfected your settings
   account to Boostgra m. Once you' re                 dashboard, you' ll want to setup your                     press the Save & Start button. Now, sit
 connected, you will be allowed to access           account to target the type of audience you              back, and enjoy your new organic fans and
              our dashboard.                                  want to engage with.                                        engagement.




                                                         Our Features


                   •••••
                    •••



      Audience Targeting                                       Schedule Posts                                               Full Control
Boostgra m attracts new followers to your             Create a unique lnstagram ca mpaign or                      We provide a full range of actions and
    lnstagra m accoount. This leads to               plan posts in advance, Boostgram le ts you                  settings to help you Increase and target
thousands of new people following, liking,           schedule any content to be posted now or                     highly specific fans on your lnstagra m
     and interacting with your profile.                             In the future.                                                account.




                                                                                                                                    J,_

       Gender Targeting                                     Location Targeting                                            No Download
 Our customized gender ta rgeting allows             Targeting by location allows you to focus              Our enterprise level softwa re runs entirely
 you to automatica lly interact with either          your efforts to specific geographic areas.              on our own web servers, so there Is no
     female, male or both audiences.                 This is very effective for local and regional                   need to download or insta ll any
                                                                      businesses.                                             applications.




                                                                            □

Manage Multiple Accounts                                         Mobile Ready                                              24/7 Support
Add multiple Jnstagram accounts Into your              Our web based softwa re is also 100%                    We" re here to help! Our friendly support
dashboa rd for easy and simple control over         mobile friendly. Edit your settings on the go               staff Is available 24/7 to answer any
       multiple Jnstagra m accounts.                   or login to check on your statistics.                   questions through both chat and e mail.




                                                    Copyright 'l:1 2017 Boostgram. All Rights Reserved.


                                How It Works     Features    Get Free Followers     Sign In   Terms of Service     Privacy P-0hcy




                                                              URL: https://boostgram.com/
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                       EXHIBIT 4



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                  INSTAGRAM
Reg. No. 4,822,600               INSTAGRAM, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                                 1601 WILLOW ROAD
Registered Sep. 29, 2015         MENLO PARK, cA 94035

Int. Cl.: 9                      FOR: DOWNLOADABLE COMPUTER SOFTWARE FOR MODIFYING THE APPEARANCE
                                 AND ENABLING TRANSMISSION OF IMAGES, AUDIO-VISUAL AND VIDEO CONTENT;
                                 COMPUTER SOFTWARE FOR TIIE COLLECTION, EDITING, ORGANIZING, MODIFYING,
TRADEMARK                        TRANSMISSION, STORAGE AND SHARING OF DATA AND INFORMATION; COMPUTER
                                 SOFTWARE FOR USE AS AN APPLICATION PROGRAMMING INTERFACE (AP!); COM-
PRINCIPAL REGISTER               PUTER SOFTWARE IN THE NATURE OF AN APPLICATION PROGRAMMING INTERFACE
                                 (AP!) WHICH FACILITATES ONLINE SERVICES FOR SOCIAL NETWORKING, BUILDING
                                 SOCIAL NETWORKING APPLICATIONS AND FOR ALLOWING DATA RETRIEVAL, UP-
                                 LOAD, DOWNLOAD, ACCESS AND MANAGEMENT; COMPUTER SOFTWARE TO ENABLE
                                 UPLOADING, DOWNLOADING, ACCESSING, POSTING, DISPLAYING, TAGGING,
                                 BLOGGING, STREAMING, LINKING, SHARING OR OTHERWISE PROVIDING ELECTRONIC
                                 MEDIA OR INFORMATION VIA COMPUTER AND COMMUNICATION NETWORKS, IN
                                 CLASS 9 (U.S. CLS. 21, 23, 26, 36AND 38).

                                 FIRST USE 10-6-2010; IN COMMERCE 10-6-2010.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 OWNER OF U.S. REG. NOS. 4,146,057 AND 4,170,675.

                                 SN 85-965,174, FILED 6-20-2013.

                                 BARBARA BROWN, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office




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                          REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                 TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration of Use ( or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PRITTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World Intellectual Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S.C. §114lj. For more information and renewal
forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                           Page: 2 I RN # 4,822,600




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                                   INSTAGRAM
Reg. No. 4,146,057                                          INSTAGRAM, INC. (DELAWARE CORPORATION)
                                                            I 8 I SOUTH PARK AVENUE
Registered May 22, 2012                                     SAN FRANc1sco, cA 94!07

Int. Cl.: 9                                                 FOR: DOWNLOADABLE COMPUTER SOFTWARE FOR MODIFYJNG nm APPEARANCE
                                                            AND ENABLING TRANSMISSION OF PHOTOGRAPHS, IN CLASS 9 (U.S. CLS. 21, 23, 26,
                                                            36AND 38).
TRADEMARK
                                                            FIRST USE 10-6-2010; IN COMMER.CE 10-6-2010.
PRINCIPAL REGISTER
                                                            THE MARK CONSISTS OF STANDARD CHARACTERS WrTTIOUT CLAIM TO ANY PAR-
                                                            TICULAR FONT, STYLE, SI7:E, OR COLOR.

                                                            THE WORDING "INSTAGRAM" HAS NO MEANING IN A FOREIGN LANGUAGE.

                                                            SER. NO. 85-426,267, FILED 9-19-2011.

                                                            BILL DAWE, EXAMINING ATTORNEY




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               INSTAGRAM
Reg. NO. 4,756,754               INS TA GRAM, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                                 1601 WILLOW ROAD
Registered June 16, 2015         MENLO PARK, cA 94025

Int. Cls.: 35 and 38             FOR: MARKETING, ADVERTISING AND PROMOTION SERVICES; DISSEMINATION OF
                                 ADVERTISING FOR OTHERS VIA COMPUTER AND COMMUNICATION NETWORKS;
                                 MARKETING AND ADVERTISING CONSULTATION SERVICES; PROMOTING THE GOODS
SERVICE MARK                     AND SERVICES OF OTHERS VIA COMPUTER AND COMMUNICATION NETWORKS;
                                 MARKET RESEARCH SERVICES; PROVISION OF MARKET RESEARCH INFORMATION,
PRINCIPAL REGISTER               IN CLASS 35 (U.S. CLS. 100, 101 AND 102).

                                 FIRST USE 8-0-2013; IN COMMERCE 11-1-2013.

                                 FOR: TELECOMMUNICATION SERVICES, NAMELY, TRANSMISSION OF ADVERTISE-
                                 MENTS AND MEDIA ADVERTISING COMMUNICATIONS VIA COMPUTER AND COM-
                                 MUNICATION NETWORKS, IN CLASS 38 (U.S. CLS. 100, 101 AND 104).

                                 FIRST USE 8-0-2013; IN COMMERCE 11-1-2013.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 OWNER OF U.S. REG. NOS. 4,146,057 AND 4,170,675.

                                 SN 86-100,072, FILED 10-24-2013.

                                 SANJEEV VOHRA, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office




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                          REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                 TRADEMARK REGISTRATION
    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
ofUse (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World lntellectnal Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S.C. §l 14lj. For more information and renewal
forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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                  INSTAGRAM
Reg. No. 4,863,595               INSTAGRAM, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                                 1601 WILLOW ROAD
Registered Dec. 1, 2015          MENLO PARK, CA 94025

Int. Cl.: 38                     FOR: TELECOMMUNICATIONS SERVICES, NAMELY, ELECTRONIC TRANSMISSION OF
                                 DATA, MESSAGES, GRAPHICS, IMAGES, VIDEOS AND INFORMATION; PEER-TO-PEER
                                 PHOTO AND VIDEO SHARING SERVICES, NAMELY, ELECTRONIC TRANSMISSION OF
SERVICE MARK                     DIGITAL PHOTOS, VIDEO AND AUDIO-VISUAL FILES AMONG INTERNET USERS;
                                 PROVIDING ACCESS TO COMPUTER, ELECTRONIC AND ONLINE DATABASES;
PRINCIPAL REGISTER               PROVIDING ONLINE FORUMS FOR COMMUNICATION, NAMELY, TRANSMISSION ON
                                 TOPICS OF GENERAL INTEREST; PROVIDING ONLINE CHAT ROOMS AND ELECTRONIC
                                 BULLETIN BOARDS FOR TRANSMISSION OF MESSAGES AMONG USERS IN THE FIELD
                                 OF GENERAL INTEREST; BROADCASTING SERVICES OVER COMPUTER OR OTHER
                                 COMMUNICATION NETWORKS, NAMELY, UPLOADING, POSTING, DISPLAYING,
                                 TAGGING,AND ELECTRONICALLY TRANSMITTING DATA, INFORMATION, MESSAGES,
                                 GRAPHICS, VIDEOS, AND IMAGES, IN CLASS 38 (U.S. CLS. 100, 101 AND 104).

                                 FIRST USE 10-6-2010; IN COMMERCE 10-6-2010.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 OWNER OF U.S. REG. NOS. 4,146,057 AND 4,170,675.

                                 SN 85-965,177, FILED 6-20-2013.

                                 BARBARA BROWN, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office




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                          REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                 TRADEMARK REGISTRATION
    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
ofUse (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World lntellectnal Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S.C. §l 14lj. For more information and renewal
forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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                  INSTAGRAM
Reg. No. 4,863,594               INSTAGRAM, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                                 1601 WILLOW ROAD
Registered Dec. 1, 2015          MENLO PARK, CA 94025

Int. Cl.: 41                     FOR: PROVIDING COMPUTER, ELECTRONIC AND ONLINE DATABASES IN THE FIELD
                                 OF ENTERTAINMENT; PUBLICATION OF ELECTRONIC JOURNALS AND WEB LOGS
                                 FEATURING USER GENERATED OR SPECIFIED CONTENT; PUBLISHING OF ELECTRONIC
SERVICE MARK                     PUBLICATIONS FOR OTHERS, IN CLASS 41 (U.S. CLS. 100, 101 AND 107).

PRINCIPAL REGISTER               FIRST USE 10-6-2010; IN COMMERCE 10-6-2010.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 OWNER OF U.S. REG. NOS. 4,146,057 AND 4,170,675.

                                 SN 85-965,169, FILED 6-20-2013.

                                 BARBARA BROWN, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office




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                          REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                 TRADEMARK REGISTRATION
    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
ofUse (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World lntellectnal Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S.C. §l 14lj. For more information and renewal
forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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                               INSTAGRAM
Reg. No. 5,566,030                 lnstagram, LLC (DELAWAR E LIMITED LI ABILITY COMPANY)
                                   1601 Willow Road
Registered Sep. 18, 2018           Menlo Park, CALIFORNIA 94025

                                   CLASS 42: Providing a web site that gives users the ability to upload images; file sharing
Int. Cl.: 42                       services, namely, providing a website featuring technology enabling users to upload
                                   electronic files; providing a web site featuring technology that enables online users to create
Service Mark                       personal profiles featuring social networking information

Principal Register                 FIRST USE 11- 5-20 12; IN COMMERCE 11-5-2012

                                   THE MARK CONSISTS OP STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                                   PARTICULAR FONT STYLE, SIZE OR COLOR

                                   OWNER OF U.S. REG. NO. 4 170675, 4 146057

                                   SER. NO. 85-965, 167, PILED06-20-2013




   Director of the United States
   Patent and Trademark Office




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                                     INSTAGRAM
Reg. No. 4,170,675                                             INSIAGRAM, INC. (DELAW/\RECORPORATION)
                                                               181 SOUTH P/\RK AVENUE
Registered July 10, 2012                                       SAN FRANc1sco, cA 94107

Int. CJ.: 42                                                   f<OR: PROVIDING/\ WEn SITE Tll/\T GIVES lJSFRS TIIE /\BIJHY TO UPl.O/\D PHOTO-
                                                               GRAPHS; TECHNICAL SUPPORT SERVICES, NAMELY, PROVIDING HELP DESK SERVICES
                                                               IN THE FIFI.Dor COMPUTER SOFTWARE, NA MEI ,Y, PROVIDING l )SERS WITH INSTRl JC-
SERVICE MARK                                                   TJONS AND ADVICE ON THE USE OF DOWNLOADABLE COMPUTER SOFTWARE,
                                                               PROVIDED ONLINE AND VIA E-MAIL; COMPUTER SERVICES, NAMELY, PROVIDING
PRINCIPAL REGISTER                                             /\N INTERACTIVE WEJ3SITE f<E/\TURJNG TECHNOLOGY Tll/\T ALLOWS USERS TO
                                                               MANAGE THEIR ONLINE PHOTOGRAPH AND SOCIAL NETWORKING ACCOUNTS, IN
                                                               CLASS 42 (U.S. CLS. I 00 /\ND IO I).

                                                               FIRST USE 10-6-2010; IN COMMERCE 10-6-2010.

                                                               THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO /\NY PAR-
                                                               TICULAR FONT, STYLE, SIZE, OR COLOR.

                                                               THE WORD "JNSTAGRAM" HAS NO MEANING IN A FOREIGN LANGUAGE.

                                                               SER. NO. 85-426,271, FILED 9-19-2011

                                                               BILL DAWE, EX/\MINING ATTORNEY




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                  INSTAGRAM
Reg. No. 4,827,509               INSTAGRAM LLC (DELAWARE LIMITED LIABILITY COMPANY)
                                 1601 WILLOW ROAD
Registered Oct. 6, 2015          MENLO PARK, CA 94025

Int. Cl.: 45                     FOR: INTERNET BASED SOCIAL INTRODUCTION, NETWORKING AND DATING SER-
                                 VICES; PROVIDING INFORMATION IN THE FORM OF DATABASES FEATURING INFORM-
                                 ATION IN THE FIELDS OF SOCIAL NETWORKING, SOCIAL INTRODUCTION AND
SERVICE MARK                     DATING, IN CLASS 45 (U.S. CLS. 100 AND 101).

PRINCIPAL REGISTER               FIRST USE 10-6-2010; IN COMMERCE 10-6-2010.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 SN 85-965,171, FILED 6-20-2013.

                                 EUGENIA MARTIN, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office




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                          REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                 TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration ofU se (or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§ 1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World Intellectual Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S. C. § 1141j. For more information and renewal
forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http ://www.uspto.gov.

NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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                       EXHIBIT 5



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                                                        Iris1| DomainTools
                                                                 Filed 10/20/20 Page 45 of 58

     Inspect: boostgram.com

      Domain Profile              Screenshot History            Whois History       Hosting History   SSL Profile


                                                                2016-01-29 - (5 years ago)
                                                                    2 identical records

    Domain                    boostgram.com

    Record Date               2016-01-29

    Registrar                 ENOM, INC.

    Server                    whois.enom.com

    Created                   2014-03-02 (6 years ago)

    Updated                   2015-03-11 (5 years ago)

    Expires                   2016-03-02 (4 years ago)

                              •   abuse@enom.com
    Unique Emails
                              •   649cb8282f554b188484ec10106420eb.protect@whoisguard.com




https://research.domaintools.com/iris/search/?q=boostgram.com                                                       1/2
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9/1/2020                   Case 3:20-cv-07345-SK Document
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                                                                 Filed 10/20/20 Page 46 of 58
     Domain Name: BOOSTGRAM.COM
     Registry Domain ID: 1848853418_DOMAIN_COM-VRSN
     Registrar WHOIS Server: whois.enom.com
     Registrar URL: www.enom.com
     Updated Date: 2015-02-16T08:21:24.00Z
     Creation Date: 2014-03-02T22:53:00.00Z
     Registrar Registration Expiration Date: 2016-03-02T22:53:16.00Z
     Registrar: ENOM, INC.
     Registrar IANA ID: 48
     Reseller: NAMECHEAP.COM
     Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
     Registry Registrant ID:
     Registrant Name: WHOISGUARD PROTECTED
     Registrant Organization: WHOISGUARD, INC.
     Registrant Street: P.O. BOX 0823-03411
     Registrant City: PANAMA
     Registrant State/Province: PANAMA
     Registrant Postal Code: 00000
     Registrant Country: PA
     Registrant Phone: +507.8365503
     Registrant Phone Ext:
     Registrant Fax: +51.17057182
     Registrant Fax Ext:
     Registrant Email: 649CB8282F554B188484EC10106420EB.PROTECT@WHOISGUARD.COM
     Registry Admin ID:
     Admin Name: WHOISGUARD PROTECTED
     Admin Organization: WHOISGUARD, INC.
     Admin Street: P.O. BOX 0823-03411
     Admin City: PANAMA
     Admin State/Province: PANAMA
     Admin Postal Code: 00000
     Admin Country: PA
     Admin Phone: +507.8365503
     Admin Phone Ext:
     Admin Fax: +51.17057182
     Admin Fax Ext:
     Admin Email: 649CB8282F554B188484EC10106420EB.PROTECT@WHOISGUARD.COM
     Registry Tech ID:
     Tech Name: WHOISGUARD PROTECTED
     Tech Organization: WHOISGUARD, INC.
     Tech Street: P.O. BOX 0823-03411
     Tech City: PANAMA
     Tech State/Province: PANAMA
     Tech Postal Code: 00000
     Tech Country: PA
     Tech Phone: +507.8365503
     Tech Phone Ext:
     Tech Fax: +51.17057182
     Tech Fax Ext:
     Tech Email: 649CB8282F554B188484EC10106420EB.PROTECT@WHOISGUARD.COM
     Name Server: NS-1013.AWSDNS-62.NET
     Name Server: NS-1259.AWSDNS-29.ORG
     Name Server: NS-1865.AWSDNS-41.CO.UK
     Name Server: NS-438.AWSDNS-54.COM
     Name Server: NS-626.AWSDNS-14.NET
     DNSSEC: unSigned
     Registrar Abuse Contact Email: abuse@enom.com
     Registrar Abuse Contact Phone: +1.4252982646
     URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/



                                                                Historical Records
                                                                  194 records found




https://research.domaintools.com/iris/search/?q=boostgram.com                                     2/2
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                       EXHIBIT 6



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PeRKNSCOle                                                       2901 North Central Avenue
                                                                 Suite 2000                      0 + 1.602.648.7000
                                                                 Phoenix. Al. 85012-2788           PerkinsCoie.com




May 11, 2017                                                                                         Kendra L. Haar
                                                                                             KHaar@perkinscoie.com
                                                                                                D. +1.602.351.8324
                                                                                                F. +1.602.648.7063

VIA EMAIL

Sean Heilweil
12 Kensington Way
Harriman, NY 10926-3006
sean@chcklst.com

Jarrett C. Lusso
17 Cambridge Ave.
Bethpage, NY 11714-3101
jclusso@gmail.com

Darrell A. Prins
1450 W. Lambert Rd. #36
La Habra, CA 90631-6583
darrellthedesigner@gmail.com


Re:           Cease and Desist Abuse of Instagram

Dear Mr. Heilweil, Mr. Lusso, and Mr. Prins:

We represent Facebook, Inc., based in Menlo Park, California, and Instagram, Inc. It has come
to our attention that, through your websites including but not limited to, https://boostgram.com/,
https://try.boostgram.com/boosta, and https://app.boostgram.com/signup?invite_code=boosta,
you are selling access to software, or a bot, that automates actions on Instagram including likes,
follows, comments, and messages to other Instagram users. This violates Instagram’s terms of
service.

Instagram demands that you stop this activity immediately.

Instagram takes the protection of the user experience very seriously, and it is committed to
keeping its site safe for users to interact and share information. Instagram has developed its
terms of service to protect the user experience and to facilitate these goals.

Instagram’s terms of service prohibit, among other things:

             Misleading Instagram users. Your services automate various user activities, creating the
              false impression that accounts created or the actions taken from those accounts belong to



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Sean Heilweil
Jarret Lusso
Darrell Prins
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              real persons. Similarly, the fake “likes,” and related actions your software provides to
              photos and posts attempt to give the false impression of genuine interest in content.

             Automating user actions. Your service automates the processes of finding, following, and
              commenting on user content, taking multiple actions at once and without express user
              consent. Moreover, Instagram’s terms permit applications to post to Instagram only to
              manage business communications with people who have expressed interest in them, and
              not for other purposes.

             Selling APIs or tools to others. From your website, it appears that your software is
              designed specifically as a tool to increase the amount of Instagram likes and followers
              that visit your users’ accounts. This directly violates Facebook’s and Instagram’s terms.

             Accessing Instagram through automated means. Your service automates a variety of
              actions on Instagram. You may not access Facebook or Instagram through automated
              means without Facebook and Instagram’s prior permission.

             Facilitating or encouraging others to violate Instagram’s terms. Your software cannot be
              used on Instagram without violating their terms. By selling or licensing the software to
              others, you are facilitating the violations of Instagram’s terms as described above.

See Instagram Terms of Use, http://instagram.com/about/legal/terms/; and Instagram API Terms
of Use, http://instagram.com/about/legal/terms/api/.

In addition to breaching the terms of service, and interfering with Facebook and Instagram’s
business expectations and interests, your activities may violate federal and state laws. See
Computer Fraud and Abuse Act, 18 U.S.C. § 1030; California Comprehensive Computer Data
Access and Fraud Act, Cal. Penal Code § 502(c).

Facebook and Instagram have taken technical steps to deactivate your Facebook and Instagram
accounts, and your limited license to access or use the Facebook and Instagram websites and/or
services has been revoked. This means that you, your agents, your employees, anyone acting
on your behalf, and/or on behalf of your website (collectively “You” or “Your”) may not
access the Facebook or Instagram websites, use the Facebook or Instagram APIs, or use
any of the services offered by Facebook or Instagram for any reason whatsoever. Facebook
and Instagram will treat further activity by You on their websites or services as unauthorized
access to its protected computer networks.




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Please respond to me in writing WITHIN 48 HOURS confirming that You:

            Have stopped and will not in the future access the Facebook and Instagram websites
             and/or use Facebook and Instagram’s services for any reason whatsoever;

            Have preserved and will continue to preserve in the future all information related to Your
             offering and/or sale of Facebook and Instagram services;

            Have stopped and will not in the future offer, transfer, market, sell or offer to sell any
             services related to Facebook and Instagram;

            Have shut down all websites You operate that are used to sell Facebook or Instagram
             services, and have removed all advertisements or postings on external websites
             advertising or describing Your Facebook or Instagram services;

            Have removed all references to Facebook and Instagram from any and all websites that
             You own or have the ability to control; and

            Will account for and disgorge any and all revenue earned from Your unauthorized
             activities related to Facebook and Instagram.

Along with Your responses, You must provide the following information:

            A complete list of any and all Facebook and Instagram accounts You have created,
             developed, maintained, or controlled;

            A complete list of domain names that You own, maintain, or control presently, along
             with all domain names that you have previously used to offer Facebook or Instagram
             services;

            A detailed description of the methods used to automate Instagram functionality and
             provide Instagram-related services;

            A complete accounting of each and every customer who purchased your Facebook or
             Instagram services, including an accounting of all compensation or revenue received by
             You, and the URLs for each profile and/or Page for which You rendered those services;
             and

            A copy of each and every version of any software code You have developed or used to
             interact with the Facebook and Instagram websites and/or services.



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Sean Heilweil
Jarret Lusso
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If you ignore this letter and continue your improper conduct, Facebook and Instagram will take
necessary measures to enforce its rights, maintain the quality of its website, and protect their
users.

This letter is not intended by us, and should not be construed by you, as a waiver or
relinquishment of any of Facebook’s or Instagram’s rights or remedies. Facebook and Instagram
specifically reserve all such rights and remedies whether at law or in equity.

Sincerely,


Kendra L. Haar

KLH




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                       EXHIBIT 7



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                                        2020-08-21 - Screenshot
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                                                             How It Works




       Connect to lnstagram                                 Enter your Preferences                                            Save & Start
   To get started, connect your lnstagram                   Now that you' re In the Boostgram                      Once you have perfected your settings
    account to Boostgram. Once you' re                     dashboard, you'll want to setup your                    press the Save & Start button. Now, sit
  connected, you will be allowed to access              account to target the type of audience you            back, and enjoy your new orga nlc fans and
                     our dashboard.                               want to engage with.                                      engagement.




                                                             Our Features


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         Audience Targeting                                        Schedule Posts                                             Full Control

  Boostgram attracts new followers to your               Create a unique lnstagra m campaign or                     we provide a full range of actions and
     lnstagra m accoount. This leads to                 plan posts in advance, Boostgram lets you                  settings to help you increase and ta rget
 thousands of new people following, liking,             schedule any content to be posted now or                   highly specific fans on your lnstagra m
     and inte racting with your profile.                              in the future.                                               account.




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            Gender Targeting                                    Location Targeting                                          No Download
   Our customized gender targeting allows                Targeting by loca tion allows you to focus            Our enterprise level software runs entirely
  you to automa tica lly Interact w ith eithe r          your efforts to specific geographic a reas.            on our own web servers, so there is no
      female, male or both audiences.                   This is very effective for local and region al                 need to download or inst.all any
                                                                         businesses.                                            applications.




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  Manage Multiple Accounts                                          Mobile Ready                                            24/7 Support
 Add multiple lnstagra m accounts into your                Our web based software is also       1 00%           We're here to help! Our friendly support
dashboard for easy and simple control over             mobile friendly. Edit your settings on the go                staff is available 24/7 to answer any
      multiple lnstagra m accounts.                       or login to check on your statistics.                    questions through both chat and e mail.




                                                       Copyright:~ 2017 Boostgram. All Right.s Reserved.


                                      How Ir Works   Features    Get Free Followers   Sign In   Terms of Service     Privacy Polley




                                          URL: https://web.archive.org/web/20170603212638/https://boostgram.com/
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                       EXHIBIT 8



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August 27, 2019                                                                                        Kendra L. Haar
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VIA EMAIL

Boostgram
c/o Raymond Lang, esq.
Attorney at Law
Raymond Lang & Associates P.C.
532 Broadhollow Road, Suite 114
Melville, NY 11747
rlang@asyourlawyer.com

Re:           CEASE AND DESIST ABUSE OF FACEBOOK AND INSTAGRAM -
              BOOSTGRAM

Dear Mr. Lang:

As you know, we represent Facebook, Inc., based in Menlo Park, California. We have previously
interacted regarding your clients Jared Lusso, Sean Heilweil, and their website Boostgram.

We originally wrote to your clients on May 11, 2017, asking them to stop providing services that
automate likes and other engagement on Instagram, a Facebook product. Although you provided
a response to our letter, the matter has never been resolved. Although you claimed at the time that
Boostgram did not access Instagram through automated means, your clients’ website at
boostgram.com, as well as evidence gathered by Facebook, confirm that your clients continue to
offer services that automate multiple actions on Instagram, including fake and automated
engagement services. These activities violate Instagram’s terms of service. This conduct is
unacceptable.

Facebook demands that your clients stop this activity immediately.

Facebook takes the protection of the user experience very seriously, and it is committed to keeping
its websites safe for users to interact and share information. Instagram has developed its terms of
service to protect the user experience and to facilitate these goals.

Instagram’s terms of service prohibit, among other things:

             Misleading Instagram Users. Your clients’ service automates various Instagram
              activities, creating the false impression that actions taken from those accounts, and the
              accounts themselves, are associated with real persons. Similarly, the fake “likes,”
              “followers,” and related actions give the false impression of genuine interest in the content.


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             Automating user actions. Your clients’ service automates several processes on Instagram,
              including delivering a “like.” It also allows an account to take multiple actions at once.
              Instagram’s terms prohibit companies from offering services to users that allow the user to
              take more than one action on Instagram at a time.

             Accessing Instagram through automated means. Your clients advertise “automatically
              interact[ing]” with targeted accounts, as well as the ability to schedule Instagram posts.
              Accessing Instagram through automated means for these purposes is not permitted.

             Facilitating or encouraging others to violate Instagram’s terms. Your clients’ software
              cannot be used on Instagram without violating their terms. By selling or licensing the
              software to others, you are facilitating the violations of Instagram’s terms as described
              above.

See Instagram Terms of Service, http://instagram.com/about/legal/terms/; and Instagram Platform
Policy, http://instagram.com/about/legal/terms/api/.

In addition to breaching the terms of service and interfering with Facebook’s business expectations
and interests, your activities may violate other federal and state laws. See Computer Fraud and
Abuse Act, 18 U.S.C. § 1030 and the California Comprehensive Computer Data Access and Fraud
Act, Cal. Penal Code § 502(c).

Facebook has taken technical steps to deactivate your clients’ Facebook and Instagram accounts,
and hereby revokes your clients’ limited licenses to access Facebook and Instagram. This means
that your clients, their agents, employees, affiliates, or anyone acting on their behalf may not access
the Facebook or Instagram websites, Platforms, or networks for any reason whatsoever. Facebook
will treat any further activity by your clients on its websites, Platforms, services or networks as
intentional and unauthorized access to its protected computer networks.

Please respond to me WITHIN 48 hours confirming that Boostgram, and your clients
individually:

             Have stopped and will not in the future access the Facebook and Instagram websites and/or
              use Facebook’s and Instagram’s services for any reason whatsoever;

             Have preserved and will continue to preserve in the future all information related to their
              offering and/or sale of Instagram services;

             Have stopped and will not in the future offer, transfer, market, sell or offer to sell any
              services related to Facebook and Instagram;



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        Will transfer all domains that include the terms “Insta,” “Gram,” or similar domains related
         to Facebook or Instagram to Facebook;

        Have shut down all websites they operate that are used to sell Facebook or Instagram
         services, and have removed all advertisements or postings on external websites advertising
         or describing their Facebook or Instagram services;

        Have removed all references to Facebook and Instagram from any and all websites that
         they own or have the ability to control; and

        Will account for and disgorge any and all revenue earned from their unauthorized activities
         related to Facebook and Instagram.

Along with your responses, Facebook requires the following information:

        A complete list of any and all Facebook and Instagram accounts your clients have created,
         developed, maintained, or controlled;

        A complete list of domain names that they own, maintain, or control presently, along with
         all domain names that they have previously used to offer Facebook or Instagram services;

        A detailed description of the methods they have used to automate Facebook and Instagram
         functionality and provide Facebook and Instagram related services;

        A complete accounting of each and every customer who purchased their Facebook or
         Instagram services, including an accounting of all compensation or revenue received by
         them, and the URLs for each profile and/or Page for which they rendered those services;
         and

        A copy of each and every version of any software code they have developed or used to
         interact with the Facebook and Instagram websites and/or services.

If your clients ignore this letter and continue their current improper conduct, Facebook will take
whatever measures it believes are necessary to enforce its rights, maintain the quality of its
websites, and protect users’ information and privacy.




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This letter is not intended by us, and should not be construed by you or your clients, as a waiver
or relinquishment of any of Facebook’s rights or remedies in this matter. Facebook specifically
reserves all such rights and remedies whether at law or in equity, under applicable domestic and
foreign laws.

Sincerely,



Kendra L. Haar




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